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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSSETTS

  PRESIDENT AND FELLOWS OF
  HARVARD COLLEGE

                Plaintiffs,
                                                     Case No. 1:25-cv-11048
         v.

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.

                Defendants.




              NOTICE OF PRODUCTION OF ADMINISTRATIVE RECORD

       The undersigned counsel hereby certifies that the administrative record, with the exception

of the portion to be produced by United States Department of Agriculture (“USDA”), see Consent

Motion for Extension, Dkt. No. 62, was served directly upon Plaintiff’s counsel via box.com, a

cloud-based content management and file-sharing platform, on May 19, 2025.



Dated: May 19, 2025                                 Respectfully submitted,

                                                    CHAD MIZELLE
                                                    Acting Associate Attorney General

                                                    ABHISHEK KAMBLI
                                                    Deputy Associate Attorney General

                                                    YAAKOV M. ROTH
                                                    Acting Assistant Attorney General
                                                    Civil Division

                                                    JOSEPH BORSON
                                                    Assistant Director, Federal Programs Branch

                                                    /s/ Eitan R. Sirkovich
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                                   EITAN R. SIRKOVICH (D.C. Bar No.
                                   90030102)
                                   RYAN M. UNDERWOOD
                                   Trial Attorneys
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, NW
                                   Washington, DC 20005
                                   Tel: (202) 353-5525
                                   E-mail: eitan.r.sirkovich@usdoj.gov

                                   Counsel for Defendants




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